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Corporation Counsel oe a Senior Counsei
LAW DEPARTMENT (212) 356-2480
100 CHURCH STREET pseutero c€ haw ns Cc Bor
NEW YORK. NEW YORK 10007
January 10, 2024
BY ECE Filacsian  wiem ed:
Honorable Colleen McMahon ,
United States District Judge Can (opener a aye urnea +4
Southern District of New York | /
500 Pearl Street, Room 2550 3) ) | Joa4 at lgieP Avrm.

New York, New York 10007

Re: Rousz Deluca v. The City of New York et al. 23-CY,09726 (CM)

Y our Honor: Vitek Vi |

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I am a Senior Counsel for the City of New York, and the attorney assigned to the above-

referenced matter. In that capacity, | write to respectfully request that the Court grant 1) a nunc
pro tunc enlargement of time from January 9, 2024 to March 11, 2024 within which defendants
City of New York, Bill de Blasio. Dermot Shea, and Terence Monahan may answer or otherwise
respond to the complaint; and 2) a corresponding adjournment of the initial conference scheduled
for February |. 2024 at 11:45 a.m.' This is our first request for an enlargement of time and
adjournment of the initial conference. Plaintiff consented to a 30-day enlargement. takes no
position on the enlargement request herein, and consents to the adjournment if the enlargement is
granted.

In the complaint, plaintiff alleges, inter alia, that they were falsely arrested on May 30.
2020, subjected to force and maliciously prosecuted. In addition to the City of New York, Bill de
Blasio, Dermot Shea and Terence Monahan, plaintiff names P.O. Kevin Agro and Lieutenant
Mellusi, and several unidentified police officers as defendants.

Before this Office can adequately respond to the complaint, we will need to conduct an
investigation into the facts of the case. An enlargement of time will allow this Office time to
receive the executed authorizations for the release of the underlying arrest and medical records
from plaintiff and forward the authorizations with requests for records to the appropriate agencies
and medical facilities. In order to respond to the allegations contained in the complaint. the
defendants must obtain records of the underlying criminal case including Police documents and

' This Office sincerely apologizes for filing this request past the purported date the answers were due. After being
assigned to handle the defense of this matter earlier today] immediately contacted plaintiff's counsel about consenting
to anenlargement.

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documents from the Criminal Court and District Attorney’s files. It is our understand ing that these
records are sealed pursuant to New York Criminal Procedure Law § 160.50. Defendants cannot
obtain these records without these authorizations, and without the records, defendants cannot
properly assess this case or respond to the complaint. Accordingly, defendants require this
enlargement so that this Office may obtain the underlying documentation, properly investigate the
allegations of the complaint and fulfill our obligations under Rule 11 of the Federal Rules of Civil
Procedure.

Moreover, according to the civil docket sheet, the individuals identified in the caption of
the complaint as Bill de Blasio, Dermot Shea, Terence Monahan, P.O. Kevin Agro, and Lieutenant
Mellusi were purportedly served with the Summons and Complaint on December 19, 2023, and,
upon information and belief, Kevin Agro and Lieutenant Mellusi have not requested legal
representation from the Office of the Corporation Counsel. This Office has not discussed with
Kevin Agro and Lieutenant Mellusi whether they have been served, and in the event they were
served, we make no representation herein as to the adequacy of service upon them. Additionally,
a decision concerning this Office’s representation of Kevin Agro and Lieutenant Mellusi has not
yet been made, and accordingly, this request for an extension of time is not made on their behalf.
However, given the time involved in determining the representation of a police officer, and in the
interest of judicial economy, we would hope that the court may, sua sponte, extend the time to
answer on behalf of Kevin Agro and Lieutenant Mellusi. If service has been effectuated, pursuant
to Sesction 50-k of the New York General Municipal Law, this Office must determine, based on a
review of the case, whether we may represent Kevin Agro and Lieutenant Mellusi. They must then
decide whether they wish tobe represented by this Office. See Mercurio v. The City of New York,
etal. 758 F.2d 862, 864-65 (2d Cir. 1985) (quoting Williams v. City of New York, et al., 64
N.Y.2d 800, 486 N.Y.S.2d 918 (1985) (decision whether to represent individual defendants is
made by the Corporation Counsel as set forth in state law)). If so, we must obtain Kevin Agro and
Lieutenant Mellusi’s written authorizations. Only after this procedure has been followed can we
determine how to proceed in this case.

Finally, defendants require an adjournment of the initial conference so that this Office may
secure relevant documents that will enable us to participate effectively in the conference and
meaningfully discuss the matters required under Rule 16 of the Federal Rules of Civil Procedure.

In light of the foregoing, it is respectfully requested that the Court grant the within requests.
Thank you for your time and consideration herein.

Respectfully submitted,

Peter Seutero

Peter Scutero

Senior Counsel

Special Federal Litigation Division

ce: All Counsel (via ECF)

